 

Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 1 of 61 PagelD 1

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

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UNION CORRECTIONAL INSTITUTION
UNITED STATES JSIRICL COURT DEC 2 2 2092

BY?
District of # MAILING

Division

CaseNo. = 3: 22-ev-\427- mmMH-PDB

 

 

 

 

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Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. )
If the names of all the plaintiffs cannot fit in the space above, )
please write “see attached” in the space and attach an additional
page with the full list of names.) )
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Defendant(s) ) = = ou me
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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS 3*2
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(Prisoner Complaint) SS 6

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should of contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
All other names by which
you have been known:
ID Number

Current Institution
Address

B. The Defendant(s)

Gernard Dener Chestnut

 

 

 

 

 

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Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Name
Job or Title (if known)
Shield Number
Employer
Address

Defendant No. 2
Name
Job or Title (if known)
Shield Number
Employer
Address

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Defendant No. 3
Name
Job or Title (if known)
Shield Number
Employer
Address

Defendant No. 4
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i. Basis for Jurisdiction

 

 

 

 

 

 

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Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (check all that apply):

State or local officials (a § 1983 claim)

ia officials (a Bivens claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials?

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of

federal law. Attach additional pages if needed.

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Ti. Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

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Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

Other (explain)

 

IV. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

If the events giving rise to your claim arose outside an institution, describe where and when they arose.

n/a

If the events giving rise to your claim arose in an institution, describe where and when they arose.

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$e 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 29 of 61 PagelD 29

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$e 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 30 of 61 PagelD 30

 

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This scheme 16 to force (A) apdlicationds of Chemical eaento from

(A) _Ehree second burst. with @) Sopeiate lace MKa Com, skers
{hen _deday cel extrachon Leann ko Co\\_to “brutally ly Desk you
or Kill ‘ya.

 

ln this sadkank. abe tiiht pie neta
pe can (430 Se Call = En al C ain pdr Couldat

then Rhee a to Ky\\ neh om Hin_19_3
Choke ld uch be wad Uacontious 2

AO

 
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|
4). | Chestnut Was beaten while. Linconaeus— 9nd oowally ascaulted._
Other toraates bold Chestouy Sey._Captain and “UReutenants
poditioned themee\ vein Ue doorway te They Could tolochh _
Video Footage, and OGiers wue pckendiog & i€ they wae
epeating to-bim laut Chestnut waark tdbponding cy: ee

92. Thea, Oficere then Covered Chesknut's face, with 2 sotshield

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never Checked hin aa) he wae sipped while 1A eecode Chait

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Kin wher tidy Cut and Sh: ion)

into_@_Ced\_ wine 9 iipedty toed of Kinen oc Comfodc_ item

Rosctack. Wade. Te Kae “onesie witla Cakain Fi shee Co

Falaty decumnts to iarick this Malco pronerty conichon,

. Hip ce\\ For up to (5) Gays See lagh 22009- WU

 

 

 

 

 

 

 

 

 

94 ps, Chestnut wap \o_smedical_foom Captain Fisher taunted
thi hak.“ Theyd_almosk 61 \ed | him. anh woud tap Ridirg ee
_______ him up. every, Chance thy Cord gh)? a sesame epeuocasceeces ns

 

9S | Gagan Tisha rege’ tedly apaeared 2 “ak Chants cll Following
ti attack, ‘nakiey Hea. that * It wats _pySend fo
the Wwiroke hien_ up “ard “Pe wat “Gred_of yamatess. CAMB So

city aran nd deren 1, inn begause Te wad § fo
man ” (See gre vance lay # IND ~L20(9- F405 [OR 29NIG

  

 

 

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Showering Hygiene Lo Anshgale }yeq_icto_¢ ae 2 cisturbgna

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—touse hie 2410. ey Chia wm ie a ir
a Kr thea to * ‘ag Kien. oy \ear ia BSS, at gain_and

— essere im Worse I Udhy Wwhen_\ a
tre lig es fF on bin_aepi Qn Sah two

| Tse Uiptcts ‘wot me by souoy anioficar Care a

 

 
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A6.|Prior to this malice : had denied Chestnut.
ce ns Shower and had _beon “Pronausly \ Proncisly getting 1Ako alkecafios,

with Chestnut, on bel FUL. BiS Who'd pens caiWally
lated Chestnut at. Flonde Otale Prison ihn he war 3 Saige.

Lb. Briand had also _fieviouSly gadicigated in an_aatautt “

gaan Chestauk, with Ut Ween who wai alco Sargent ________
xv Une bor at Foe

 

 

 

 

 

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on DNB (9.029. and tha trached all f Chisinut

 

 

 

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dveck Violation Use of Force. Oolicy:

Officer Seow, OF cer Samoan, (hier \w\kman.. and ander
lata Ore Heer pacticigated 1D Cell exirachon asault. and Sexval

Li. Dilly Alay cores 10 VS apecuiit. Sprajro Chott

egal wih Chemical aeents _deffauidion_( anCad

Ste qoorence leg # LL -Go- IG2ON'T)
Lk. Enrsrnacien Xo Darhcipates) ia This aneault / Attempted
Muckr by WO\Shag with thy Use & Fore CanCarder Deftaud._

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Oran ously.

 

 

 

 

 

 

 

 

 

 

 
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age 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 33 of 61 PagelD 33
{

 

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hin fokek 1a his ed CNRS = MN
Jaguihe bi demer beaten di

XKS dang, Nie

Yandhieg bin

 

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part” in_orcke fOr Cena kp
ated coockal Sth Senticeh Since be cefuend to conduct

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to Cover up With:
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eet Wall a his Mend aad Fellow Co-worker Officer OAD

 

 

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tte Ahn nat

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ed deenandy For one to touch oy genkalo then Cun my Rover’
“tbeough my mouth, oy £UD-TUIM. wd
Poor Lo ne. Lug placed ito Le cell 1 wad ecorted) from

ep Paley mak Se ae Fac Aus a
{Lo pre While On Camcorder thyeakenice
le did to mein (ecentber 20\4) \a: _
{dock one a damn_ abot moy \aiduit, “Awhile oa Cant

 

 

 

 
 

 

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DN ‘Ob

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at shige Qed Cicer Mattox have San pay iy —

 

 

| Thay've both called me Riggers ” on Candem rounne
OCCASSIONS >

 

 

 

 
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1O\ On 9/91/22, after teadiog, ie” Ab1ieg. handed Lo. him by amide
_INKLdon L.-Rulenytay
| Sep \pende_e& 5 Cet) with him, giving hon Koi Lo Shab

pad athe lomaten.
- A See qaewvance Ligt 212- -2.2.04- NYU /9210- 2\3-0711)

 

 

 

 

 

 

JO Jon 10/0/22. yt Rulevitth threw bray lids at Chekrit’s cel
door_ty uot_and theaien Din.

| See gneronce_legtt 0B-1200- 0154}

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\nsttuhon Mala Sabolagicy Vidto ani Audio dicen Lo Opstud.

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Kien Lat & Biny “camera calftiadtta 19 immediately reported and _
Stepb ar Valen ah af a a resis»

ee (Se gauerce Lig WW > DLA ¢ 4- 02507 2200-0. Oa)

 

 

 

 

 

 

\04 Jon 1O/V1/2.2. Soh Rutwitch ercarted me Co_spa vwil

\nsgector Alexander teraled Je sag ata sah nl eg

oe | Mbay'd_oek pnt Gor J

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a Upon CL bach {p_oos assand CNYEVSa-NO baw

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_ Sponcthicg (Ory my Sky ALM

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on. Video Outside of _CWN to Nialahon_of Cnr play and _

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ee atts _Complai -gnievanie. lop# LIL. JO-2)5-\25) _
a a

 

 

 

 

 

 

 
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5@ 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 35 of 61 PagelD 35

 

 

 

 

af 105 |00 10/2/22. Sot. Auteuiicdh threatened,“ tm im gonna Se
tty £1 Cama dock Inet _and_le_gunaa ~ Come aside.
______lYauir-celt aml fucking Cam yours again! _\m_g tate
your Fuckias “bandas oF On \ideo- “Camera \68_ oho. GP ee
aSo_\_do pea fuch_and the Warden dont_qwe.a Fudd abot
pur lect ass AE we_day the _Camera_mmalfunchorvd ly we.
alway do.” Ye alex said the NAA rigors dont do Sit”
and” We ca a Knee to okab oe and“ thy LG.

 

~ ‘ Protech oftiere Oot Anerraked. OW keen Wwethiog.< SL For
ouc WK aod. You

 

 

Sok Da nae _No“ mental health,

iy “yo O) Wwihea_\ get neice lena sig ————

 

Co:

 

your Tuk UEC on Carne Se Chil you \in_ oot by, 1 of pnd gk
Can ¢ ape Sout ASS _ O1 Carer vaibenever \Ae gph (Cady aiet
away with” Ik. Whenenes we pany Stef i,t ____.

You Sad were gona ack you!
cna a
fn bis thet _

“iden (2mntkas ~
Nideo Camera _in_\io iano all-pay to—¢

GMMR Lop 29 iO- DS

On Ockohys \O LOL'L and October 12 9022. Sy
AuleutGn, alton. and “Ali ggins Soskruckeal one. Fre
Mental Health twakoneck acceso. ap \

 

[thy would_do thea conspired) _vaiith mherkall health ato

LOT

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(See gawiare opts “UND- 2910 - OSA 22-2015 3

29- G2 BUCS)
Oo 10/19 /2.2 Sgt Aulantdn cnade_ lauds aad _theats
of Fu bina gee up and“ Calliog ome a Snitch” ko tacit.

inmate kine. and Cicer atic again. OM. .
This has keen a coutey thall foc Hebe Offers

 

 

 

 

 

 
Cate 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 36 of 61 PagelD 36

 

\Ob

On August ty LDL2. Sh. Jamu Mc ure pushed) C hestnut
down, wolenkly and waithout peowocahon or jushicahan inode,
Ihe cell Cause tim to inc hip tea _bocqud
di Supnayy (0 poik to Cover up Wis stoalt conspired iit

 

 

 

UL Weer tp faisGy this report _ Despite iden Cameuaa

 

fed. Shalcg Chek Auer peck. ary aitennpt io ticks
Cop a) \Sdy indicated.

 

104

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(ans Sus, wal harfanoment by tainting, io Qycb, WiSE.09
ak Wien‘ a bis Food On \iteo (mera eats an)”
theats of qe ng huang asain”

 

 

 

8 wen Cheatnk Gled Complaints of Video Cameran Sholay —

 

 

his_90 pthog_ jo _Cheatnys | ‘Food? LET Vay\Gc FaloGed docuasets

hat the “Video Cameras Mralfunchoazd> AS wallas win
Chest. Called Nideo Came. to Shawl Nuit trode any PitteneptS
ito Kid Any Officer. Sega mene Jay lop#’s 2.20G- 11d 19%

The _cnare Chestnut led Conrglaiehs sthe_tno @ So McCue

 

 

 

Nncieacval his atfadhS and felalyahon. ee
19 -(o- IUSV/ 2.2 Go- 2OIG IR D2- > LONGI /220f - 21>

 

 

159 _

 

 

when Chestnut Alea Compta ik Fr Prokeation From Hye.

 

officers and ome. they Wee lachoag \aith Vidlence agent

met cq. | wab 2 Snitch and Ruihag ast Wits thy

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Aysoell_ and Wenlenank Roberts _| to_faiaty dowmerto aan
me. to Ohotruck protections aqgins me.
(See gawane lay t's 22060 - A> -\58/29 -G- NDS

2206 - 2-50.) 22 (- 190DT

 

 

 

SG
Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 37 of 61 PagelD 37

t
}

 

 

— 1 (2. When once expressing to the Warden that hed ben assaulted

iby Sob MCChuce_and be falohed dougoay, cept_agareh fim
tb Cone it up * > the_\nlarden repied by direchog oFB Gr bo, ee
© Gas the hell out of Chestnut Out him ot Camera and

ga the bull_out of tien”
NW. tte, Wattle Tab alta. aulhyiied dficials to spray Chestnut.

 

 

 

 

Wilh Chemical on pyeidtant occaspon6 whe be Wai
already @atiaiced in WandcufS of Deu Shady a
anit chains.

 

 

 

1M. whan Chestouk eupdensed to \Wbavden be wats placed on @ spi

shidd_due to 2 baud di ue ats all nama eg
Spt bA_3h ewreda. \alich Videp Camyrad_inii\\ teyea) ie

Lremporded hog Cheetrt— “Hed kop him ook inde Okey
tte be? had © le a oe gffing araud_paity ” oe

 

 

 

 

115s When Chestnut expcseral_ Lo i
dig charged him from Sid Stats despite. hin expend: i oe
them be “would hare himst€ dal tas cenuted ia bm BD ai
hinsal where hier had breach col to ¢ ee
Tum? be rephed ne Qubbavzed Mertal beat kage dt to. ei

Kim Tl for cossioa Os and HL wa ied of a
A Chaput 5 CH oenplay ~ .

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TT Casing en | Lo male. peariterk Sucde atemgio, octieme— oe
_ Vales eran oa get_oalic _adsaulled or eUtally_leatem by oe
Urs \alhen Gur Seis Sai \ Kraittt teatone

Fam al\_onedicdnor oe oe
SY

 

 

 

  

 

 

|
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[IT 00 _Novemby | 2022, Cheatouit had 2 Legal Call. Sgt
Qulaich and Officer Mattox encorced Crextnul to CassGcation
area_\nto a room out oF View oF Camera Syne\lance.

These OF ice thea punched and olappad Chertnut ia The
Face. 5 head .and pucched buen 1D the ‘Stomach Sayin
& Dida Vai Kell YoAL Yale Weee_gon ek ouc ass. sl
nigaes | We qk Something For ya anand \youl Start
sssitchug a \ad twisted bio. of genitals. v

 

 

HO-lChearout Bled 3 qawance Compliant regardiag this mao
QScault Upon bien. He Peer Cecenteal “Boy” Reartts.
Every ho te hee writen raquerk ForMNS or? \nfowrn’
CoreftaictS _ Inquiring AAKO this nes AUILC gotten any (ODO.

 

 

HF. On November OF 20722. Chestnut wad Cleared fon W-
Owm DHS GaluS And Od Aleit appeared) with Cicer
Wiiggch aod _Lieptenad Taylor where thy “ekood y an
watthed Sgt. Ruaitch Mb he Uird the Quid? of Ohio
Sean to “Suwwally AQUOL ONL ty repeakadty Kien on to
Whe ad Supa. my Demis saat Cough “Spead Sau built
Cheeks Orv) tua my j Roget though my mouth with \Wat
Capkiied on_ th Sone\lahce Camu \n ~SH0 cal I ening om to

Shih Rages in_mouth “Shoaflecoak Joust ory 985 Shonasshole play ath puri).

Chesitik Suomited 9 P.A-E.A, Cornplack the next roan s-
ben Clrassficahon Sta® Came aud With the ge ‘evan bs

He Nab canes (ecenieds a cenponee, Nok an whan he had
Filed othe qnewanroy and _¢ conenk Foxms_\ Ad am ioto tS

__tenatign, These documents hae disappeacd ap “well

 

 

(2D.lon_/1%/ 2072. Cheknuk cmade_9 nangiog atten.
ice f NAIM Proceps vit Shi p camsen
Ohno acd cans to_obstuck net From

Mackal ai pk by \strycheg_Meckal bral Saf? ____

 

 
Cag

@ 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 39 of 61 PagelD 39

m_back a io Cell deopte ' Chentnuk,
\odicatiog Yo tuatal ncalth Staff Counedar Kushaus
land waar lrak \d oaks anckher hangag 2 Aen loegauce

 

Las going Yhrough a_ mental bralth Cid.

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I Laker thi day Chestnut attempted andther hranging and

—— a es Cinskouk vith his Gab acai dling {his

au

Cantan Onwa, OrhLer Carter, Lieutenant. Weems then Conspiced
to Force Further “chemical ange acl Cell evtyachon Iwan agape
m by eaudiog Vise & Force Cam ocdec 10_Usuial Gebion that
Lah “Rss te nae ant cough” thin FalsiGed didcgicvany
rows aac and placed mee back into the call
Lewtenact Many Noo part. igated iA this atiack acd
thwatened one. 297 \_Wwab_\A_medical Coom shay, * We
apncia_9 oak you wore thea wedi dv \atk one hes he.

lant gi Got_OFF on ou? * (EerA0g to the Juce
2019 aciderk when evcvachon teary ried to Kil ere.

i

Captain Own, 1). Wad aloo a Conspiator_10 the Cell evtyachon
3eault. on Chestnut. 10 Deoorrker 2014. CAS detaied 10

 

this document) (Se EXWAL

(See doytts 9-LUle OBeD /213- 221-087)

 

 

 

 

 

 

 

OF

 
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a.

 

199

On12/ 1/2022. Fler \_spcte wilh Inspector J. Langstan.

1 ClassGcation. Sot Rueaitth and Officer Matloy.encorted me _
baclh_toe \.=Dorn_mating threateriag taunts that“ \_was_a_hueig

 

 

 

Snitch and_cryiag to the 1.6."

 

i125

Lnepcctoc Wathely or Whatley _tafab_Wwilh_lnseeebar Langetan ard ecechored
me geicy 2 Shower and_2 Smave:

 

 

 

 

 

 

 

JAM

— entered ey assigned Call

 

Sot Buuitth and_ Officer (Mattox placed ane inthe shower cel then

 

EN2-\1O Wher _Cornmgnced to
esting my lenal_decumenS rigging Khem_and_taeoting —_______

 

Hen into the Cole Stool Shagag_dad_tossing then aroud ony col:

 

}25

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Sat Rulowich and Officer Matton have been_perarctently Cage

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|

On May BI in Vv Dum Wingy 5, Ofhcec Maton catered
Chestnuts Baionad Cell V3 - 103 ap he reliicned Grom _W-

 

 

(pce

S05 _Biattie inflrmnary with Officer Wiggin and Sq. Satten

nt beck. Wien vwwith Clowd fidts -

 

2]

On June 2” Offs Mattox entered the samt Wing lgenening
ho fat adainol, Chyatat’s Cel) Wicdow saving That * be
val. Cress Rb” ard _vallina_out that “VE wap snit

»

uw J
Alby. whet nacpervd. Ae aa inviahon to ciber \amaken

oN The Mung to, harm Cresloul:

 

23

Chestaut nohied Atloccey damen \. Cook fo Sees Nideo ant
Audio preendhien of thee incidents See EXHIGIM, SS

 

 

 

 

}24

 

The nsihiion destrypa Uo: endtece. by eayeg the Video

 
Cage 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 41 of 61 PagelD 41

Camyes Malrunchoned. Desple qnwarce logo 1nd cahog Camneg
Phalfunchond are. \nitarkly Conreoked iL _Happend to hea Ma\forchon
duncy enery Qosault_and [ False repeat _ spt tte Cheatnuk.
COACKGROYND HISIORY OF VIOLENCE.)
Wha Liewtenark Q. Dawa cdhocovered that Cheatnut Inad been
transkerfed to Umon Ci, be appeareal at Ins Cen ona

 

 

 

thredko and ‘authog lhin_of i tow hed done im at Ft

 

Aed that he’ gai and “ How be had
Somethiaa for tam hah For Ay lawouts against hun
on 12/14/14.

»?

 

le also Slung a pair of metal handcuF€S \ioleny adeno

Chyptiauls ep \\ Wicdow bp ackagani2e aad innenstate, hina

by (@-enachng and Qypren ing thal cd leaten Chestnut
pcenjously with 2 Oat of NICS In December 20l% at
Flodda Stake Prison.

 

On )2/1G/ 2014 Ub. A. awn conspved niin Officers bo

place, Chernut 00 property cessinichon _\ 10 atearpl to curtai |
hi. \wal achors acd. pobKeDd his Legal docummerts to _

 

(ead dhol. C\aims wie louicg raised o¢ Real aojaunth fim

him

 

|)

On 12/1/2014 E.R. ron conspired wilh Captain Bown In,
and Lieukenack S. Reugh to defraud Use & force Cant ores

to have Ohestnut be utally ovate by Cell odyachon team. LL. A.
Gown \uched adound Bepiad the Vian of th. Use & force
CamCordy Woe Chestnut was 2 Rng loreal. As br was being
Seen by medical Le. Dron, A. was hiding of Camcorder

 

 

by Standioa Indide Nut Office BC9% theAnall fon the a
csv Cain coor waking his eve at. Chestaul_aad |_doing

| “gunshot ” hand agate wat Chestevk. Lo indicate id
been Ceppondible Berths beating Wid is explained 19

cle kayi_On thy Following 4 PAGLD:

~ 4
Cage 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 42 of 61 PagelD 42

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|
3

 

130.

 

On “December 102019 Lieutenant. Sterling. 2 ad

———— Cain, Michael Bocangel 101 oflick caf nal gosqull

 

 

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J after thvee. appications 6 chemical agents thane ficial nites

 

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Use of Force CamCodler and audio as iF {hey _were Folloru.cg Pobic 4

Pani sions 2od_male Yoe_coll_extrachon force loot legal

 

 

 

oD

Platt € Copratedlly expired that. He wierd tp Cu up.” I
to awoid the coutiAr brutal ty there_coll extyachion teams twélicl

 

5

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Dlainife aye Fiabce with thin seaccn vekdutte,

thea_ax_the Plainhfe was Completely nae he clicecterl his

Cell door to toe rolled open for _ Call Cusrachon team bebe sally

leat him ab Wb p@-meditakedl and —Conepild oj defrauding
the Use o€ Force CamCocler_as_if the PlainhfE bad waited

 

 

 

 

Unt |_te wan Conciekely nakek tp becom mon=connpliant.

 

137. Ihe wae waited ut fe wae completely. nakek to inflict the
utmost embaccassmedt Wnumniliahon aad” Sexual assauil.

 

 

TD tthe Cell extraction feam_offigals Cannisted of Defendart's
|Sifoa Robling , Tent Aulawitch, Wille Oliver, Lyodell Prampton,

 

Robert Rete \ who Commended ey the Plainnfh with

ekal_ restraint bandculfs_ aad_leg otha leb_io I. face, 2088 ee

jie nes sine op en. Saveral_ ache _lorea \ FLodde -

v5 NeFk Oye. His bowel cooemenk wa

a ay. Sars isniniog is_cecbum ata wy

 

Mekal castyaints in Sexual @osaullL. Tyee Offer had aly

thy _Plaimi€e to the back & the Cell to ensure maki mum obebiuchen

42
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|

“lok he Use & Force CamCnrder sue Nence..

 

 

 

Officer SOL) Sharing, wae opeeahog te Uc of Force CamCorler

 

—______—g¢h eacodesl |

 

| The bleeding freon the Plantes ic too severe to be
Contyolled by. Anedisal nurses the Doromtwry 29 be. hed_to

 

eck Care Medical Doconi tory for an Oeboin
mock & Sbtneb 10. suueal ombs acfoed.hio Face and Shull.

 

iM

Captain Michael Down dicated Hiroe to tun oe CamCorder

_____ tn Vitlaton_c_ Une of Focce_ provisions, “ag emcort_to Urgent

 

 

 

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—$— For_over 2.0 eae

 

 

SKU

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Color) J law Lindsey cite) that "He Couigwical Use o€ Force,
And _notated the LNULIe did nok appear Lo oe consisteck with a

he aah fed the \Warkn 12 Oo wiho_Adyisead ion
Hhak Medica SrafE must be Ye oo to_defermmae the Uae

Cease or INconasteck.°?-

Forced Cell eybrackion and bedodt Jes] be e¥cenpive Force armel

 

This W95 Conspiracy {D_CoNe_Up up_and Faclitak

pee

 

 

 

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_ cen Malicious force. ahd implemertion. protocal “sel proche
_ ts _preveni_ hee attach. frm _feauriag sft a

ee ___ oven

 

 

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\_late other dimilar aifack

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rand ctr piisoners will radicake. ne Corfechve Meas lage.

 

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assaults. Colonel also_cited He Teac) the af Scream oub

_______ that fr wa_being, beaten
Th. renal one) (), Ly

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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

What date and approximate time did the events giving rise to your claim(s) occur?

 

 

C.
Seo. Attached) pages 1A Shatemerk d& Claim Sechon WW
D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)
e 1 ) gen 10 Sratemerk of Claun seclis WW
V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not receive.

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VI. ‘Relief
State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims.
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Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 51 of 61 PagelD 51

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

VIL.

Exhaustion of Administrative Remedies Administrative Procedures
The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought

with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are

exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?
[7 Yes

[_] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Union Correchonal \asttuhon

B; Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

rH Yes

[_] No
[-] Do not know

C, Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[ves

[_] No
[-] Do not know

If yes, which claim(s)?

Every Claim raised in Complank wies ty gciaied am)_evhauskes)

S| Page 6 of 11
Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 52 of 61 PagelD 52

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

D.

Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

1 Yes
[-] No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

L] Yes
L] No

If you did file a grievance:

1. Where did you file the grievance?

ln Florida Doc at Goin Correchonal lasttuhoa

2. What did you claim in your grievance?

A\\ the facks listed 40 Complaint

3. What was the result, if any?

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4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 53 of 61 PagelD 53

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

F. If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

WA

2. If you did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

N/A

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

N/A

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VI. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

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[] No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 54 of 61 PagelD 54

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
ves
[_] No

B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (Jf there is

more than one lawsuit, describe the additional lawsuits on another page, using the same Jormat.)

1. Parties to the previous lawsuit

Plaintiff(s) Plage. wee, Altached paged Concerning \Langehion

Defendant(s) chon Bl PMS Laws
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2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

6. Is the case still pending?
Ke

[_]No

If no, give the approximate date of disposition.

 

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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C, Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your

imprisonment?

Page 9 of 11
Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 55 of 61 PagelD 55

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

ves

[-] No

D. If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the sare format. )

1.

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Court (if federal court, name the district; if state court, name the county and State)

 

Docket or index number

 

Name of Judge assigned to your case

 

Approximate date of filing lawsuit

 

Is the case still pending?

[] Yes
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If no, give the approximate date of disposition

 

What was the result of the case? (For example: Was the case dismissed? Was judgment entered
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3:15-cv-01343-MMH-PDB

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3:17-cv-00424-TJC-JK

3:18-cv-00489-MMH-PDB

3:18-cv-00615-TJC-MCR

3:18-cv-00631-BJD-PDB

3:18-cv-00875-MMH-JK

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3:18-cv-1302-TJC-JK

3:18-cv-1505-HLA-JBT

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Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 60 of 61 PagelID 60

Cases matching “GERNARD D CHESTNUT” (as a Plaintiff)

- 3:20-cv-5918-R-EMT Chestnut v. Neel | 6 pages x 50¢ per page = $3.00

- 3:21-cv-43-LC-EMT Chestnut v. Santa Rosa Correctional Institution | 1 page x 50¢ per page =
50¢

- Total: $3.50

Cases matching “GERNARD DENEZ CHESTNUT” (as a Petitioner)
- 4:18-cv-120-WS-HTC Chestnut v. Dixon | 13 pages x 50¢ per page = $6.50
- Total: $6.50

Cases matching “GERNARD DENES CHESTNUT” (as a Plaintiff)

- 3:15-cv-46-MCR-EMT Chestnut v. Carr, et al., | 3 pages x 50¢ per page = $1.50
3:15-cv-69-LC-CJK Chestnut v. Burke, et al., | 3 pages x 50¢ per page = $1.50

- 3:20-cv-5679-MCR-HTC Chestnut v. Walker, et al., | 3 pages x 50¢ per page = $1.50
- 3:21-cv-827-LC-EMT Chestnut v. Leavins | 5 pages x 50¢ per page = $2.50

- 3:21-cv-944-LC-EMT Chestnut v. Leavins, et al | 4 pages x 50¢ per page = $2.00
- 4:1]-cv-225-MP-CAS Chestnut v. Peterson | 10 pages x 50¢ per page = $5.00

- 4:11-cv-232-MP-WCS Chestnut v. Tamayo | 2 pages x 50¢ per page = $1.00

- 4:11-cv-305-WS-CAS Chestnut v. McLendon | 13 pages x 50¢ per page = $6.50
- 4:12-cv-551-SPM-CAS Chestnut v. Eagen | 2 pages x 50¢ per page = $1.00

- 4:14-cv-403-MW-GRJ Chestnut v. Ross | 2 pages x 50¢ per page = $1.00

- Total: $23.50

Grand total of $33.50

Address for the Middle District of Florida
Unites States District Court

Middle District of Florida

Jacksonville Division

300 North Hogan Street

Jacksonville, FL 32202

Please note for future requests similar to this that the Clerk’s Office does have a search fee of $32.00
and will require payment upfront prior to searching for and providing a large amount of case
information. This information has been provided as a one-time courtesy.

Thank you,

Tak
Deputy (lek Taylor McGill

Enclosures:

0) In Forma Pauperis Application

CD Civil Rights Complaint Form: (Prisoner | (J Non-Prisoner
C Habeas Corpus Petition Forms: 142241 | 42254 | 02255
X Returned Mail

The mission of the Office of the Clerk of the Northern District of Florida is to provide superior service to the public and the Court.

 

Gainesville Division Panama City Division Pensacola Division Tallahassee Division
401 SE Ist Avenue, STE 243 | North Palafox Street 1 North Palafox Street 111 N, Adams Street
Gainesville, Florida 32601 Pensacola, Florida 32502 Pensacola, Florida 32502-5658 Tallahassee, Florida 32301-7717
352.380.2400 850.769.4556 850.435.8440 850.521.3501
352.380.2424 FAX $50.769.7528 FAX 850.433.5972 FAX 850.521.3656 FAX

(0
Case 3:22-cv-01437-MMH-PDB Document1 Filed 12/29/22 Page 61 of 61 PagelD 61

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or bya
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

Signature of Plaintiff Oro

Printed Name of Plaintiff Ceynayd Qo? Chentnut
Prison Identification # VO0\4 Co
Prison Address Umon ©). P.O. BOX 1000
Katoicd LL AL

City State Zip Code

 

B. For Attorneys

Date of signing:

 

Signature of Attorney
Printed Name of Attorney

 

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code

Telephone Number
E-mail Address

 

 

Gl

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